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 8                                IN THE UNITED STATES DISTRICT COURT

 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11 DAVID MCDANIEL                                          CASE: 1:20−CV−00856−DAD−SAB

12                          vs.

13 RALPH DIAZ, ET AL.                                      ORDER OF REASSIGNMENT

14                                                    /

15             The court, having considered the equitable division and efficient and economical

16 determination of court business, finds the necessity for reassignment of the above captioned case,

17 and for notice to be given to the affected parties.

18             IT IS THEREFORE ORDERED that:

19             The above captioned case shall be and is hereby REASSIGNED from

20 District Judge Jennifer L. Thurston to District Judge Dale A. Drozd for all

21 further proceedings. The new case number for this action, which must be used on all documents

22 filed with the court, is: 1:20−CV−00856−DAD−SAB

23             All dates currently set in this reassigned action shall remain pending subject to further order

24 of the court.

25             DATED: February 3, 2022

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